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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                     1/11/2021


YAYA JALLOW,

                                            Plaintiff,                20-CV-06260 (LGS) (SN)

                          -against-                                            ORDER

CITY OF NEW YORK POLICE DEPARTMENT,
et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

         On January 11, 2021, the parties appeared at a conference before the Court. As discussed

at that conference, the Plaintiff shall be granted an extension of time in which to file his amended

complaint, to January 29, 2021. The Defendants shall answer or otherwise respond to that

amendment no later than March 1, 2021. In addition, the Plaintiff shall file his Notice of Change

of Address as soon as possible.

SO ORDERED.




DATED:           New York, New York
                 January 11, 2021
